Case 1:99-cr-10050-.]DT Document 136 Filed 05/06/05 Page 1 of 2 Page|D 94

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IN THE UNITED STATES DISTRICT coURT ""“`"- D. C.
FOR THE WESTERN DISTRICT oF TENNESSEE 05 HA y _5
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Plaimiff, " `CKSON‘
vs. Case No. 1 :99cr10050»03
JERROLD SCOTT KINCER

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

'I`his matter comes before the Court on a motion for refund of the cash appearance bond. lt now appears
that the defendant has complied with the requirements of said bond and orders of this Court.

IT IS THEREFORE ORDERED that the ( $l,OOO/' 10%= $IO0.00)appearance bond (receipt J27995 ) for
this defendant be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the Sum of

$100.00, payable to: Tannny Smith 3019 Colmty Line Road, Melber, KY 42069; in full refund of the cash

appearance bond posted herein.

  

  

D. TODD
D STATES DISTR_ICT JUDGE

 

Approved:

ROBERT R. DI TROLIO, CLERK OF COURT

BY: ( ;DFQLMQ'\_

Deputy Clerl'.

Tnts document entered on the docket sheet In compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 136 in
case 1:99-CR-10050 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

C. Mark Donahoe

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Honorable J ames Todd
US DISTRICT COURT

